215 F.2d 752
    John Otis SPAIN, Jr., Appellant,v.UNITED STATES of America.
    No. 15169.
    United States Court of Appeals Eighth Circuit.
    September 9, 1954.
    
      Appeal from the United States District Court for the Eastern District of Missouri.
      Clyde S. Cahill, Jr., St. Louis, Mo., for appellant.
      Harry Richards, U. S. Atty., and Robert C. Tucker, Asst. U. S. Atty., St. Louis, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court docketed and dismissed for want of prosecution, on motion of appellee.
    
    